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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION


 To:            All Counsel of Record

 Issued By:     Judge Robert R. Summerhays

 Re:            United States of America v. Holden Matthews
                Criminal Action No. 6:19-cr-0183

 Date:          October 15, 2020


                                        MINUTE ENTRY

         The Court held a telephone status conference with counsel. The government made an oral

 request for a brief continuance of the sentencing hearing and the defense voiced no objection. The

 sentencing in this matter is continued to October 30, 2020 at 10:00 a.m.
